Case
 Case09-10347-8-SWH
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   SO ORDERED.

  SIGNED this 26 day of June, 2018.


                                                           ___________________________________________
                                                                     Stephani W. Humrickhouse
                                                                   United States Bankruptcy Judge

 _________________________________________________________________________



                           UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF NORTH CAROLINA
                                   RALEIGH DIVISION

  IN RE:
                                                                          CASE NO.
  RODNEY ALLEN MCCOWAN                                                    09-10347-8-SWH
                                                                          CHAPTER 7
          DEBTOR


                          ORDER ALLOWING OBJECTION TO CLAIM

          The matter before the court is the Objection to Claim of BAC Home Loans Servicing filed
  by the chapter 7 trustee on March 7, 2018, Dkt. 176 (the “Objection”). A response in opposition
  was filed by Bank of America, N.A. (“Bank of America”) on April 6, 2018, Dkt. 186. A hearing
  was held in Raleigh, North Carolina on May 2, 2018.

          In the Objection, the chapter 7 trustee contends that “no valid deed of trust of record
  [existed] against [the debtor’s] property as of the petition date . . . not a valid secured claim.” After
  reviewing the case record and considering the arguments of counsel, the Objection is hereby
  ALLOWED. An opinion setting forth the basis for the court’s ruling will follow at a later date.

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